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 5   Attorney for:
     ISRAEL MUNOZ-MUNGUIA
 6

 7                             IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                        ) Case No.: 1:20-CR-00214-NODJ-BAM-2
10   UNITED STATES OF AMERICA,                          )
                                                        ) STIPULATION AND ORDER TO
11                     Plaintiff,                       ) CONTINUE THE SENTENCING DATE
                                                        )
12          vs.                                         )
                                                        )
13   ISRAEL MUNOZ-MUNGUIA,                              )
                                                        )
14                     Defendant,                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   BARBARA A. MCAULIFFE AND STEPHANIE STOKMAN, ASSISTANT UNITED

17   STATES ATTORNEY:

18          COMES NOW Defendant, ISRAEL MUNOZ-MUNGUIA, by and through his attorney

19   of record, DAVID TORRES, hereby requesting that the sentencing hearing currently set for

20   Monday, June 17, 2024, be continued to Monday August 12, 2024, at 8:30 a.m.

21          Defense counsel is requesting a continuance due to additional documents needed for

22   sentencing which have not arrived. AUSA Stokman is currently engaged in a jury trial and does

23   not object to defense counsel’s request. Defendant Munoz-Munguia is prepared to exclude time

24   for sentencing.

25   ///




                                    Stipulation and Order to Continue Sentencing
                                                         1
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 1          IT IS SO STIPULATED.

 2                                                                 Respectfully Submitted,

 3   DATED: June 6, 2024                                           /s/ David A. Torres
                                                                   DAVID A. TORRES
 4                                                                 Attorney for Defendant
                                                                   ISRAEL MUNOZ-MUNGUIA
 5

 6

 7   DATED: June 6, 2024                                           /s/Stephanie Stokman
                                                                   Stephanie Stokman
 8                                                                 Assistant U.S. Attorney

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10
                                                 ORDER
11
           IT IS SO ORDERED that the sentencing hearing is continued from June 17, 2024, to
12
     August 12, 2024, at 8:30 a.m. in Courtroom 5 before the District Court Judge.
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14   IT IS SO ORDERED.

15      Dated:    June 7, 2024                                 /s/ Barbara A. McAuliffe      _
16                                                        UNITED STATES MAGISTRATE JUDGE

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                                 Stipulation and Order to Continue Sentencing
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